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                         UNITED STATES DISTRICT COURT 
                         NORTHERN DISTRICT OF ILLINOIS 
                               EASTERN DIVISION 
 
JANE DOE,                                              
                                                       
           Plaintiff, 
                                                       
     v.                                               No.    
                                                       
SCHOOL OF THE ART INSTITUTE OF      
CHICAGO, JOHN PHILLIPS, LISA 
WAINWRIGHT, AMANDA DASILVA, 
MICHAEL NICOLAI, and BETH WRIGHT 
                                       
          Defendants.                 Plaintiff Demands Trial By Jury 
 
                              COMPLAINT 

       Plaintiff  JANE  DOE,  through  her  undersigned  counsel,  seeks  redress  against 

Defendants  SCHOOL  OF  THE  ART  INSTITUTE  OF  CHICAGO  (“SAIC”),  JOHN 

PHILLIPS,  LISA  WAINWRIGHT,  BETH  WRIGHT,  AMANDA  DASILVA,  and 

MICHAEL NICOLAI, and states: 

                                     INTRODUCTION 

       1.     When Jane Doe was a student at SAIC in 2015‐2016, she was repeatedly 

subjected  to  extreme  sex  discrimination,  harassment,  sexual  violence,  retaliation,  and 

other forms of emotional and physical abuse and injury by John Phillips, a member of 

the faculty at SAIC and Doe’s direct advisor. Before he was appointed as Doe’s advisor, 

Phillips had previously sexually victimized other students at SAIC. SAIC officials knew 

of Phillips’ past actions, and were aware that Doe was receiving services from SAIC as a 

student with disabilities. 
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                                        JURISDICTION 

        2.      This Court has original subject matter jurisdiction over Plaintiff’s federal 

claims pursuant to 28 U.S.C. § 1331, 28 U.S.C. § 1343, and 29 U.S.C. § 626(c). This Court 

has supplemental jurisdiction over the Illinois state claims, pursuant to 28 U.S.C. § 1367, 

as it is part of the same case or controversy as the federal claims. 

        3.      Venue  is  proper  in  this  judicial  district  in  accordance  with  28  U.S.C.  § 

1391,  as  all  Defendants  either  reside  in  this  District  or  have  their  principle  place  of 

business in this District, and all events giving rise to Plaintiff’s claims occurred within 

this District.   

                                           The Parties 

        4.      Plaintiff  JANE  DOE  is  a  resident  of  Massachusetts.  The  vast  majority  of 

events  set  forth  herein  occurred  when  Doe  resided  in  Chicago,  Illinois,  Cook  County, 

within this judicial district.  

        5.      Defendant SAIC is a private not‐for‐profit college. It is an accredited post‐

secondary  institution  of  higher  learning,  which  provides  both  graduate  and 

undergraduate  study.  This  curriculum  provides  for  the  preparation  of  visual  artists, 

teachers of art, designers, and others in areas that include written, spoken,  and media 

formats.  In  fiscal  year  2016,  average  academic  year  full‐time‐equivalent  enrollment  of 

degree‐seeking students was 3,072 including international students from 50 countries. 

        6.      SAIC  is  a  place  of  public  accommodation,  receives  federal  funding  and 

financial assistance within the meaning of 20 U.S.C. § 1681(a) and is otherwise subject to 
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Title IX. SAIC receives federal financial aid funding from the Department of Education 

under  the  following  programs:  Federal  Pell  Grant  Program,  Federal  Supplemental 

Educational Opportunity Grants Program, and the Federal Work Study Program. 

         7.    Defendant  JOHN  PHILLIPS,  is  a  resident  of  Chicago,  Illinois  in  Cook 

County,  Illinois.  At  all  relevant  times,  Defendant  Phillips  was  a  faculty  member  at 

SAIC.   

         8.    Defendant LISA WAINWRIGHT, is a resident of Chicago, Illinois in Cook 

County, Illinois. At all relevant times, Defendant Wainwright was the Dean of Faculty, 

Vice President of Academic Affairs at SAIC. 

         9.    Defendant  BETH  WRIGHT,  is  a  resident  of  Chicago,  Illinois  in  Cook 

County,  Illinois.  At  all  relevant  times,  Defendant  Wright  was  the  Chair  of  Faculty  at 

SAIC. 

         10.   Defendant AMANDA DASILVA, is a resident of Chicago, Illinois in Cook 

County,  Illinois.  At  all  relevant  times,  Defendant  DaSilva  was  the  Director  of  Student 

Conflict Resolution.  

         11.   Defendant MICHAEL NICOLAI, is a resident of Chicago, Illinois in Cook 

County,  Illinois.  At  all  relevant  times,  Defendant  Nicolai  was  the  Vice  President  of 

Human Resources, and Title IX Coordinator. 

                      Facts Upon Which Plaintiffs’ Claims Are Based 

         12.   Plaintiff  JANE  DOE  (ʺDoeʺ)  began  her  degree  program  at  SAIC  in 

September 2015.  
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           13.   Doe’s dream was to be an art professor. She has loved school and did well 

in  college.  She  graduated  summa  cum  laude  in  an  honors  program  in  undergraduate 

school  and  went  on  to  complete  a  post‐graduate  program  at  Brandeis  University  in 

order to fulfill her goal of getting accepted to a more prestigious, nationally known art 

school like SAIC. 

           14.   Doe has a psychological disability including diagnoses of attention deficit/ 

hyperactivity  disorder,  anxiety,  panic  attacks,  insomnia,  impaired  focus,  and 

depression. Before Doe entered SAIC as a student, SAIC was aware of Doe’s disability 

as Doe had a 504 plan in place relating to her disability. 

           15.   In  late  2015,  SAIC  was  aware  that  Doe’s  disabilities  were  causing  her 

stress and agitation and that she was under a doctor’s care.  

           16.   In  2016,  SAIC  assigned  Defendant  John  Phillips  to  be  Doe’s  one‐on‐one 

advisor,  despite  the  fact  that  SAIC  was  aware  of  Doe’s  disability,  was  aware  that 

Phillips  was  under  investigation  by  SAIC  for  discrimination  against  another  student, 

and was aware that Phillips had a history of sexual misconduct with students.  

           17.   Phillips directly supervised Doe and had direct control over her academic 

career. 

           18.   On  February  4,  2016,  Doe  met  with  Defendant  John  Phillips  for  the  first 

time.   

           19.   During  this  initial  meeting,  Phillips  told  Doe  he  was  in  a  four‐year 

relationship with an undergrad student, and his wife (who is also a professor at SAIC) 
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found  out  and  they  were  getting  divorced.  Phillips  recommended  that  Doe  watch  a 

movie about a teacher who has a sexual relationship with a student at a boarding school 

and had Doe read a magazine known for articles about sex and violence in art. Phillips 

told Doe that he was only interested in her art if it depicted women or sexual conduct.  

       20.    During  this  initial  meeting,  Doe  discussed  with  Phillips  that  she  had  a 

psychological disability.  

       21.    The  advising  meeting  lasted  three  hours.  Immediately  after  the  meeting, 

Phillips began sending Doe images of paintings depicting women, violence, and sex. 

       22.    On February 12, 2016, Phillips invited Doe to his apartment. Doe went to 

Phillips’  apartment  with a  friend because  she was worried  about  going  alone.  Phillips 

provided  the  students  with  alcohol  and  drugs.  Phillips  engaged  in  sexually  abusive 

conduct with Doe and Doe’s friend. Phillips photographed the two students naked.  

       23.    On  February  14,  2016,  Phillips  apologized  to  Doe  for  his  conduct  on 

February 12. Phillips told Doe that he was going to commit suicide by hanging himself 

and  showed her a  rope  at his apartment. Doe  informed  Phillips  that she was  going  to 

the symphony and encouraged him to not kill himself. Phillips asked Doe to come to his 

apartment.  Doe  feared  that  Phillips  would  commit  suicide  and  agreed  to  go  to  his 

apartment after the symphony.  

       24.    When  Doe  arrived  at  Phillips’  apartment,  he  gave  Doe  alcohol  and 

engaged in sexual activity with her.  

        
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        25.    The next day Phillips texted Doe and told her not to tell her friends about 

him. Phillips asked Doe to come to his apartment again. Doe did not go. 

        26.    Phillips’  began  texting  and  calling  Doe  every  day.  Phillips  also  began 

going  to  Doe’s  studio.  Phillips  insisted  that  Doe  come  to  his  apartment.  Doe  saw 

Phillips  at  his  apartment  approximately  10  times  between  February  15,  2016  and  the 

end of February. Phillips engaged in sexual activity with Doe nearly every time she was 

at his apartment.  

        27.    In  early  March  2016,  Philips  sent  Doe  a  picture  of  people  jumping  off  of 

buildings, insinuating that he was suicidal. Phillips continued to insist that Doe come to 

his apartment. Doe saw Phillips almost every day in March. Phillips engaged in sexual 

activity with Doe nearly every time she was at his apartment. 

        28.    As  a  result  of  Defendant  Phillips’  conduct,  Doe  became  depressed,  had 

trouble  concentrating  and  painting,  and  struggled  to  participate  in  educational 

activities. 

        29.    During  April  2016,  Doe  stayed  at  Phillips’  apartment  for  an  extended 

period. Doe’s friend became worried about her; he could not find her and did not know 

whether she was safe. Phillips told Doe to not tell her friend about him.  

        30.    In May 2016, Doe barely left Phillips’ apartment. Phillips told Doe to not 

talk  to  her  friends  anymore.  Phillips  told  Doe  not  to  talk  to  her  mother.  Phillips  often 

took Doe’s phone and prevented her from communicating with her mother. Phillips  



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told Doe that her mother did not know how to take care of her and he could take care of 

her better.  

       31.      After  the  semester,  Doe  temporarily  returned  to  Massachusetts  with  her 

mother.  Philips  told  Doe  to  delete  his  number  and  all  of  his  texts  because  he  was 

worried  about her mom finding out  about his actions. Philips  told  Doe  that  she  could 

no  longer  have  contact  with  him  and  asked  if  he  should  get  a  lawyer  to  save  his  job. 

Phillips told Doe that he would be back on suicide watch if he lost his job. 

       32.      In June 2016, Doe returned to Chicago for a summer course, during which 

time she planned to stay at a hotel.  

       33.      Phillips  went  to  the  hotel  and  persuaded  Doe  to  move  in  with  him. 

Phillips told Doe to stop communicating with her mother. Once Phillips persuaded Doe 

to  stay  at  his  apartment,  Phillips  told  Doe  that  he  did  not  want  her  leaving  the 

apartment. Philips was very abusive. On one occasion he locked her out of the rooftop 

garden as punishment for leaving a door open.  

       34.      Phillips  manipulated  and  controlled  Doe  by  controlling  her  movements, 

controlling who she could talk to, controlling what she could wear, terrifying her into 

committing  sex  acts,  incapacitating  her  with  drugs  and  alcohol  despite  knowledge  of 

her disability and the fact that she was taking prescription medications that should not 

be combined with the drugs and alcohol he was giving her, sexually violating her and 

taking sexually explicit video and photographs of her while her capacity was 



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diminished, and disseminating naked images of her without her consent and with the 

intent to cause her distress. 

       35.     On several occasions, Philips took sexually inappropriate pictures of Doe. 

He  has  repeatedly  threatened  to  release  them  in  retaliation  for  her  reporting  his 

misconduct. 

       36.     Doe  lost  almost  thirty  pounds  during  the  period  when  Phillips  was 

abusing her. There were days that she was unable to get out of bed. Doe missed classes, 

workshops, and other educational programs and activities.   

       37.     On  June  19,  2016,  Doe  found  naked  photographs  of  other  students  on 

Phillips’ computer. Doe confronted Phillips about the photographs and Phillips became 

angry with Doe and locked her out of the apartment.  

       38.     Doe texted her mother, “HELP,” then her phone died.  

       39.     After  receiving  the  plea  for  help  from  Doe,  Doe’s  mother  called  Doe’s 

friends to help find her.  

       40.     On June 20, 2016, after learning that Doe was at Phillips’ apartment, Doe’s 

mother  contacted  Defendant  Wainwright  and  told  her  she  was  gravely  concern  about 

her  daughter’s  well‐being.  Doe’s  mother  explained  that  Phillips  was  involved  in  an 

inappropriate sexual relationship with Doe.  

       41.     Defendant  Wainwright  refused  to  discuss  the  matter  with  Doe’s  mother 

citing the Family Educational Rights and Privacy Act, (FERPA) even though Doe had 



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previously signed a FERPA waiver allowing SAIC officials to talk with her mother due 

to her disability.  

        42.    After  Doe’s  mother  told  Wainwright  about  Phillips’  inappropriate 

relationship with Doe, Wainwright did not report the matter to any SAIC official, as she 

was required to do. Instead, she called Phillips and warned him that Doe’s mother had 

called SAIC and was looking for Doe. Defendant Wainwright told Phillips that nothing 

would happen to him as long as Doe did not file a formal complaint.  

        43.    After SAIC refused to take action in response to Doe’s mother’s report to 

Wainwright,  Doe’s  mother  called  the  police  and  asked  them  to  perform  a  wellness 

check on Doe. The police went to Phillips’ apartment and found Doe dirty and covered 

in urine.   

        44.    Before  police  arrived,  Phillips  instructed  Doe  not  to  say  anything  to  the 

police. Phillips answered all the police questions himself. After the police left, Phillips 

was very angry at Doe. Doe left the apartment because of her fear of Phillips.   

        45.    On June 20, 2016, one day after Doe’s mother called and reported Phillips’ 

inappropriate  relationship  with  Doe,  SAIC  locked  Doe  out  of  her  art  studio,  access  to 

which was necessary for her education.  

        46.    The same day, Chair of Faculty Beth Wright emailed Doe, forwarding her 

the SAIC’s policy for Consensual Faculty/Student Relationships. 

         

         
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        47.    Later that night, Phillips sent a text message to Doe, stating: “you fucked 

me  and  sacrificed  my  life  –  you  need  to  do  everything  in  your  power  to  undo  the 

damage you’ve done.” 

        48.    The next day, on June 21, 2016, Phillips told Doe that she needed to make 

sure to report that the relationship was consensual, otherwise, he would lose his job. 

        49.    On  June  21,  2016,  Doe  met  with  Defendant  Wright  and  told  her  that  she 

was afraid of retaliation from Phillips and wanted protection from him. 

        50.    Immediately  after  Doe’s  meeting  with  Defendant  Wright,  Doe  observed 

Defendant Phillips meeting with Wright. Doe saw Wright show Phillips the notes that 

Wright had taken during her meeting with Doe. 

        51.    Later  that  day,  at  approximately  4:30  PM,  Defendant  Wright  called  Doe 

and stated that she was emailing a “mutual” no contact order that she said was put in 

place under the direction of the Dean.  

        52.    Doe  became  very  upset  and  adamantly  expressed  to  Wright  that  the 

mutual  no  contact  order  was  not  going  to  protect  her  and  she  was  very  afraid  of 

Phillips.   

        53.    On  June  21,  2016,  Doe  complained  to  SAIC  about  the  handling  of  the 

situation  with  Phillips.  Doe  expressed  that  she  did  not  believe  Wainwright  was 

impartial because of her friendship with Phillips.  

        54.    On  June  22,  2016,  Defendant  Phillips  violated  the  no  contact  order  by 

entering Doe’s dormitory and leaving her a voicemail message, which scared her. 
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       55.    On June 23, 2016, Doe met with Defendant Wright and Defendant DaSilva 

who  impressed  upon  Doe  that  the  policies  at  SAIC  were  only  a  suggestion  for  the 

faculty. 

       56.    During this meeting, Wright and DaSilva assisted Phillips in violating the 

no  contact  order  by  giving  Doe  a  stapled  brown  bag  in  which  Phillips  had  placed 

objects that would remind Doe of the abuse she suffered. Doe opened the bag in front of 

Wright and DaSilva and fell to the floor crying.  

       57.    On June 24, 2016, Phillips again violated the no‐contact order. He coerced 

Doe  to  email  Defendant  Wright  stating  that  her  relationship  with  Phillips  was 

consensual  and  she  did  not  wish  to  pursue  a  complaint.  Doe  was  terrified  that  she 

would never be able to escape Phillips’ abusive and controlling conduct. 

       58.    In early July, Defendant Phillips continued to intimidate and scare Doe by 

threatening to disseminate naked images of her without her consent and insisting that 

she communicate with him. Phillips manipulated Doe and threatened that she had to do 

everything in her power to save his job or he would kill himself. Phillips told Doe she 

would never be able to live with herself if he committed suicide. 

       59.    In late July, Doe attempted to get a new studio space since she had been 

locked  out  of  her  original  space  since  June.  She  requested  to  move  into  a  different 

available  studio  space  because  she  believed  it  would  retraumatize  her  to  work  in  the 

studio  where  Phillips  served  as  her  advisor.  Defendant  DaSilva  put  off  meetings  and 

discussions  with  Doe  regarding  the  new  studio  space.  New  space  eventually  became 
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available, and on the day Doe was supposed to move, DaSilva did not show up to assist 

her, forcing Doe to move her studio without the SAIC’s assistance.  

       60.     On  July  30,  Phillips  violated  the  no‐contact  order  again  by  texting  Doe. 

Doe reported the violation to Wright and informed her that she would call the police if 

SAIC could not protect her from Phillips.  

       61.     On  or  about  August  3,  2016,  Doe  contacted  Dawn  Henson,  the  Deputy 

Title  IX  Coordinator,  to  ask  for  help  because  Wright  and  Wainwright  were  ineffective 

and she was continuing to suffer harm.  

       62.     Henson  did  not  help,  but  instead  told  Doe  to  reach  out  to  other  SAIC 

officials,  including  the  Dean  on  Call.  This  was  very  traumatizing  for  Doe  as  she  was 

unable  to  reach  people,  causing  even  more  delays,  and  she  was  made  to  repeatedly 

describe Phillips’ abusive conduct to strangers.  

       63.     Henson then discussed Doe’s case with Wainwright and reported to Doe 

that  Wainwright  had  assigned  Wright  to  investigate  the  matter.  Doe  was  very 

distraught  to  learn  this  information  as  she  had  informed  SAIC  officials  in  June  that 

Wainwright had a conflict of interest, as she was a close personal friend of Phillips.  

       64.     In August 2016, SAIC terminated Phillips’ employment. 

       65.     After  Phillips’  employment  was  terminated,  Plaintiff  was  criticized  and 

ostracized  by  classmates  blaming  her  for  Phillips’  termination.  SAIC  did  not  take  any 

steps to protect Plaintiff or prevent the retaliation. 

 
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       66.     On  August  7,  2016,  Phillips  contacted  Doe’s  mother  and  asked  to  talk 

about the situation. Doe’s mother declined to speak to Phillips and contacted Defendant 

Wright to report that Phillips had contacted her. She asked SAIC to stop Phillips from 

contacting her. Doe’s mother was terrified of Phillips.  

       67.     In early August 2016, Phillips again went to Doe’s dormitory. He sent her 

text  pictures  from  inside  her  lobby  to  show  that  he  was  there.  Doe  reported  this 

violation  to  the  SAIC,  after  which,  SAIC  moved  Doe  to  a  hotel  for  a  week,  where  she 

did not have access to food or laundry facilities. 

       68.     Doe  and  her  mother  attempted  to  work  with  Dawn  Henson,  in  order  to 

find a safer housing alternative in an SAIC dormitory. SAIC’s responded that they were 

“working on it,” even though there were many empty dorm rooms.  

       69.     Not  having  safe  housing  arrangements  caused  Doe  severe  stress  and 

anxiety, which exacerbated her PTSD and other disabilities and caused her to be unable 

to  sleep  or  concentrate  on  her  classes.  SAIC  was  aware  of  Doe’s  suffering  but  did  not 

inform Doe’s professors that she needed accommodations.  

       70.     On  August  17,  2016,  because  SAIC  was  not  protecting  her  or  providing 

effective assistance, Doe went to court and was granted an emergency Civil No Contact 

Order against Phillips.  

       71.     On  August  19,  2016,  Doe  sent  a  letter  to  Mike  Nicolai,  the  Title  IX 

Coordinator, requesting several accommodations including changing advisors, moving 

her art studio with assistance and preparing it for the next occupant because it was too 
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traumatizing  to  be  in  the  studio  alone,  updating  her  disability  plan,  tutoring  and 

assistance completing the Fulbright scholarship application process, and acquiring new 

housing. 

       72.    On August 23, 2016, Phillips contacted Doe through his legal counsel and 

threatened  Doe with criminal charges for pursuing her  complaint  against Phillips and 

obtaining a Civil No Contact Order.  

       73.    On  August  30,  2016,  Doe  reported  to  Dawn  Henson  that  Phillips  was 

threatening her with a lawsuit and that she was emotionally traumatized and drained 

and suffering from severe anxiety because of SAIC’s lack of response and the ongoing 

harassment and retaliation. 

       74.    In September 2016, Doe became emotionally incapacitated because of the 

retaliation  and  ongoing  harassment.  She  took  a  leave  of  absence  from  SAIC  and 

returned to Boston.  

       75.    On  September  13,  2016,  Phillips  again  threatened  Doe  through  his  legal 

counsel.  Philips  threatened  to  sue  Doe  if  she  did  not  recant  her  allegations  of 

misconduct and insist that SAIC rehire him. 

       76.    Phillips continued to  contact  Doe despite the no‐contact  order,  including 

texting  her  on  September  18,  2016  and  September  20,  2016.  Doe  was  intimidated  by 

Phillips’ constant communications, which were threatening attempts to silence her. 

        

        
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       77.    On  September  30,  2016,  Doe  was  on  her  computer  when  a  message 

appeared on her Facebook page from Phillips requesting $.99 for assistance with legal 

fees. Doe felt threatened and intimidated.  

       78.    That same day, Philips sent a message to Doe via Facebook with a picture 

of his lawyer posing with then presidential candidate Hillary Clinton. Phillips told Doe 

that  his  attorney  has  friends  in  her  hometown  in  Massachusetts.  Phillips  made 

intimidating comments about his attorney’s power to defeat Doe.   

       79.    SAIC  was  aware  of  Phillips’  ongoing  retaliation  and  harassment  but  did 

not take steps to stop his harassment and retaliation or to protect Doe from Phillips.  

       80.    On  October  17,  2016,  SAIC  issued  a  decision  letter  relating  to  its  Title  IX 

investigation.  The  letter  stated  that  SAIC  had  terminated  Phillips’  employment  and 

provided  Doe  with  support  services,  so  they  did  not  need  to  further  investigate  her 

complaints and could do nothing about the retaliation. Doe appealed SAIC’s decision, 

which was denied. 

       81.    On August 30, 2017, Doe filed a complaint with the Office for Civil Rights 

at the Department of Education, asserting numerous Title IX violations. The complaint 

was accepted for investigation, and is currently pending. 

       82.    As a result of Defendants’ conduct, Plaintiff was harmed and continues to 

be harmed in that she has experienced economic and non‐economic damages, including 

great  mental  anguish,  humiliation,  degradation,  physical  and  emotional  pain  and 

suffering,  inconvenience,  loss  of  enjoyment  of  life,  future  pecuniary  losses,  harm  to 
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reputation,  harm  to  career,  and  harm  to  her  education,  and  other  consequential 

damages, including, but not limited to the following: 

              a. Doe  has  required  ongoing  counseling  and  elevated  levels  of 

                 medication  to  address her  injuries  caused by  Defendants’  actions and 

                 inactions; 

              b. Doe has one year of graduate school at SAIC that no other school will 

                 credit and she will have to re‐do; 

              c. Doe has incurred legal expenses in order to enforce her rights and the 

                 rights of others;  

              d. Doe expended additional sums on housing in order to provide for her 

                 safety because of Defendants’ inactions; 

              e. Doe has debt relating to tuition and board from the year that she was 

                 at SAIC; and 

              f. Doe  has  been  forced  to  seek  alternative  educational  opportunities 

                 because she is unable to return to SAIC.  

                                          COUNT I 
                         Gender Violence Act‐ 740 ILCS 82/ et seq. 
                                                
       83.    Plaintiff  restates  and  realleges  by  reference  the  paragraphs  above  as 

though fully set forth herein. 

       84.    From February 2016 through June 2016, Phillips physically touched Doe’s 

body in an insulting, provoking, improper, and sexual nature. 


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       85.    Phillips  committed  an  act  of  violence  or  physical  aggression  against  Doe 

because  of  sex.  Said  act  of  violence  and/or  physical  aggression  constituted  a  battery 

under Illinois law. 

       86.    Phillips  committed  a  physical  intrusion  or  physical  invasion  of  a  sexual 

nature under coercive conditions satisfying the elements of battery under Illinois law. 

       87.    SAIC,  through  its  officials,  including  but  not  limited  to  the  individual 

Defendants, encouraged or assisted Phillips’ repeated acts of gender violence. 

       88.    As a result of Defendants’ conduct, Plaintiff was harmed and continues to 

be harmed in that she has experienced economic and non‐economic damages, including 

great  mental  anguish,  humiliation,  degradation,  physical  and  emotional  pain  and 

suffering,  inconvenience,  loss  of  enjoyment  of  life,  future  pecuniary  losses,  harm  to 

reputation,  harm  to  career,  and  harm  to  her  education,  and  other  consequential 

damages. 

                                          COUNT II 
             TITLE IX, 20 U.S.C. §1681, et. seq., (intentional discrimination) 
               
       89.    Plaintiff  restates  and  realleges  by  reference  the  paragraphs  above  as 

though fully set forth herein. 

       90.    Title  IX  states  “[n]o  person  shall,  on  the  basis  of  sex  be  .  .  .  subjected  to 

discrimination.”  34  C.F.R.  part  106.31(a).  A  funding recipient  shall  not “subject  any 

person  to  separate  or  different  rules  of  behavior,  sanctions,  or  other  treatment;”  or 

otherwise  “limit  any  person  in  the  enjoyment  of  any  right,  privilege,  advantage  or 


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opportunity;”  “treat  one  person  differently  from  another”  in  “determining  whether 

such person satisfies any requirement of condition for the provision of such aid, benefit, 

or  service;”  or  “provide  different  aid,  benefits  or  services  in  a  different  manner;”  34 

C.F.R. part 106.31(b)(1‐7).  

       91.     The  willful  actions  of  Defendants  constitute  intentional  discrimination 

under Title IX. 

       92.     Defendants intentionally discriminated against Plaintiff on the basis of her 

sex  in  that  Plaintiff  was  excluded  from  participation  in,  denied  the  benefits  of,  or 

subjected to discrimination under a federally‐assisted program or activity. 

       93.     Similarly  situated  individuals  were  treated  differently  because  of,  or  on 

the basis of their sex.  

       94.     SAIC,  through  its  officials,  including  but  not  limited  to  the  individual 

Defendants,  handled  Plaintiff’s  complaint  differently  than  the  complaints  of  others  on 

the basis of her sex.   

       95.     Defendant  SAIC  has  engaged  in  a  policy,  pattern,  and  practice  of 

discrimination on the basis of sex.  

       96.     As a result of Defendants’ conduct, Plaintiff was harmed and continues to 

be harmed in that she has experienced economic and non‐economic damages, including 

great  mental  anguish,  humiliation,  degradation,  physical  and  emotional  pain  and 

suffering, inconvenience, loss of enjoyment of life, future pecuniary losses, harm to 



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reputation,  harm  to  career,  and  harm  to  her  education,  and  other  consequential 

damages. 

                                          COUNT III 
                              TITLE IX, 20 U.S.C. §1681, et. seq.,  
              (Deliberate indifference discrimination‐hostile environment) 
                       
       97.     Plaintiff  restates  and  realleges  by  reference  the  paragraphs  above  as 

though fully set forth herein. 

       98.     The  sex‐based  harm  suffered  by  Doe  was  so  severe,  pervasive,  and 

objectively offensive that it deprived Plaintiff of access to educational opportunities or 

benefits.  

       99.     SAIC,  through  its  officials,  including  but  not  limited  to  the  individual 

Defendants, subjected Doe to a hostile educational environment in violation of Title IX 

of the Education Amendments of 1972, 20 U.S.C. § 1681(a) (“Title IX”), because:  

               a. Doe was a member of the class intended to be protected by Title IX; 

               b. Doe was subjected to sexual harassment in the form of a sexual abuse 

                  by a faculty member;  

               c. She was subjected to harassment based on her sex; and  

               d. She  was  subjected  to  a  hostile  educational  environment  created  by 

                  SAIC’s  unlawful  policies  and  procedures  and  failure  to  properly 

                  investigate and/or address Phillips’ actions.  

       100.    SAIC, Wainwright, DaSilva, Nicolai, and Wright had actual knowledge of 

the sexual abuse and the retaliatory actions against Plaintiff, created by their failure to 
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promptly,  equitably,  and  effectively  investigate  and  address  Phillips’  actions  in 

accordance with the law. 

       101.   Wainwright  attempted  to  conceal  Phillips’  conduct  and  prevent  SAIC 

from  responding  to  and  addressing  Phillips’  actions  by  alerting  Phillips  that  Doe’s 

mother had reported his misconduct, and telling him that he would not get in trouble so 

long as Doe did not make a formal complaint.  

       102.   SAIC’s,  through  its  officials,  including  but  not  limited  to  the  individual 

Defendants,  failure  to  promptly,  equitably,  and  effectively  respond  to  and  address 

Phillips’  action  resulted  in  Plaintiff,  on  the  basis  of  her  sex,  being  excluded  from 

participation  in, being  denied the benefits of, and being  subjected  to discrimination in 

SAIC’s academic programs in violation of Title IX.  

       103.   Defendants acted with deliberate indifference toward Plaintiff.  

       104.   Defendants  persisted  in  their  actions  and  inactions  even  after  they  had 

actual knowledge of the harms suffered by Plaintiff.  

       105.   Defendants’ actions as described herein made Plaintiff vulnerable  to  that 

harassment that she experienced. 

       106.   As a result of Defendants’ conduct, Plaintiff was harmed and continues to 

be harmed in that she has experienced economic and non‐economic damages, including 

great  mental  anguish,  humiliation,  degradation,  physical  and  emotional  pain  and 

suffering, inconvenience, loss of enjoyment of life, future pecuniary losses, harm to 



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reputation,  harm  to  career,  and  harm  to  her  education,  and  other  consequential 

damages. 

                                         COUNT IV 
                             TITLE IX, 20 U.S.C. §1681, et. seq., 
                               (discrimination ‐ quid pro quo) 
                                                
       107.   Plaintiff  restates  and  realleges  by  reference  the  paragraphs  above  as 

though fully set forth herein.   

       108.   The  sex‐based  harm  suffered  by  Doe  consisted  of  quid  pro  quo 

discrimination  because  Phillips  was  Doe’s  direct  advisor  who  had  control  over  her 

education.  Phillips  used  his  position  and  authority  and  power  over  Doe  to  extract 

sexual  favors  and activities  for  his  advantage  and pleasure. Phillips was  employed  by 

SAIC and was granted power over Doe’s education by SAIC. Phillips actions deprived 

Plaintiff  of  access  to  educational  opportunities  and  subjected  Doe  to  sex‐based  harm 

that negatively affected her access to educational programs and activities.  

       109.   SAIC, Wainwright, DaSilva, Nicolai, and Wright had actual knowledge of 

the sex‐based harm and retaliatory actions against Plaintiff.  

       110.   SAIC  is  responsible  for  Phillips’  quid  pro  quo  discriminatory  actions 

because:  

              a. Doe was a member of the class intended to be protected by Title IX; 

              b. Doe  was  a  student  subjected  to  sex‐based  harm  by  an  SAIC  faculty 

                  member with direct supervisory control over Doe, who was given that 

                  position of authority over Doe by SAIC; and 
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              c. Doe  was  subjected  to  sex‐based  harm  because  of  SAIC’s  unlawful 

                  policies  and  procedures  and  failure  to  properly  investigate  and/or 

                  address Phillips’ actions and past similar misconduct.  

       111.   By  his  actions,  Phillips  caused  Doe  great  mental  anguish,  humiliation, 

degradation,  physical  and  emotional  pain  and  suffering,  inconvenience,  loss  of 

enjoyment of life, future pecuniary losses, and other consequential damages. 

       112.   As a result of Defendants’ conduct, Plaintiff was harmed and continues to 

be harmed in that she has experienced economic and non‐economic damages, including 

great  mental  anguish,  humiliation,  degradation,  physical  and  emotional  pain  and 

suffering,  inconvenience,  loss  of  enjoyment  of  life,  future  pecuniary  losses,  harm  to 

reputation,  harm  to  career,  and  harm  to  her  education,  and  other  consequential 

damages. 

                                        COUNT V 
                            TITLE IX, 20 U.S.C. §1681, et. seq., 
                   (intentional discrimination‐discriminatory policies) 
 
       113.   Plaintiff  restates  and  realleges  by  reference  the  paragraphs  above  as 

though fully set forth herein. 

       114.   Title  IX,  20  U.S.C.  §1681  et.  seq.,  requires  funding  recipients  to  provide 

equal  educational  opportunities  and  forbids  them  to  discriminate  on  the  basis  of  sex. 

Title IX also forbids funding recipients to have policies that subject sex‐based harms to 

separate or different treatment. 



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       115.    Title  IX  regulations  prohibit  the  “use  or  distribut[ion  of]  a  publication, 

which  suggests  by  text  or  illustration  that  such  school  treats  applicants,  students  or 

employees differently on the basis of sex” 34 C.F.R. part 106.9(b)(2), and mandate that 

funding recipients “adopt and publish grievance procedures providing for prompt and 

equitable  resolution  of  student  and  employee  complaints  alleging  any  action,  which 

would be prohibited by Title IX.” 34 C.F.R. part 106.8(b).  

       116.    At all relevant times, SAIC had policies in place that were not compliant 

with  Title  IX,  were  facially  discriminatory  on  the  basis  of  sex,  and  that  subjected  sex‐

based  harms  to  separate  and  different  treatment  compared  to  harms  based  on  other 

protected class categories. 

       117.    SAIC,  through  its  officials,  including  but  not  limited  to  the  individual 

Defendants,  applied  definitions  of  offenses  more  onerous  than  those  required  by  Title 

IX (unwelcome and based on sex) to assess Doe’s case.  

       118.    SAIC,  through  its  officials,  including  but  not  limited  to  the  individual 

Defendants,  unlawfully  subjected  Doe’s  Title  IX  matter  to  separate  and  different 

treatment  compared  to  the  treatment  afforded  students  who  suffer  harms  based  on 

other protected class categories, such as race and national origin.  

       119.    SAIC,  through  its  officials,  including  but  not  limited  to  the  individual 

Defendants, engaged in a pattern and practice of behavior designed to discourage and 

dissuade students and parents of students who had been sexually assaulted from 



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seeking prosecution and protection and from seeking to have sexual assaults from being 

fully investigated.  

       120.    This policy and/or practice constituted disparate treatment of females and 

had a disparate impact on female students.  

       121.    Doe  has  suffered  emotional  distress  and  psychological  damage,  and  her 

character  and  standing  in  her  community  have  suffered  from  the  harassment  fostered 

as  a  direct  and  proximate  result  of  Defendant  SAIC’s  deliberate  indifference  to  her 

rights under Title IX.  

       122.    On  August  30,  2017,  Doe  filed  a  complaint  with  the  OCR  at  the  DOE 

asserting numerous violations of rights under Title IX. The complaint was accepted for 

investigation, and is currently pending. 

       123.    Doe’s  OCR  complaint  alleged  that  SAIC  had  facially  discriminatory 

policies,  and had failed  to  promptly, equitably,  effectively, and  appropriately  respond 

to  Phillips’  actions,  resulting  in  Doe,  on  the  basis  of  sex,  being  excluded  from 

participation  in,  being  denied  the  benefits  of,  or  being  subjected  to  discrimination  in 

SAIC  education  programs  or  activities  in  violation  of  the  Title  IX  implementing 

regulation. 

       124.    Defendants  Wainwright,  DaSilva,  Nicolai,  and  Wright  had  the  authority 

to take remedial action to correct the sex‐based harassment.  

        

        
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       125.   SAIC’s,  through  its  officials,  including  but  not  limited  to  the  individual 

Defendants,  actions  and  inactions  will  cause  reasonable  students  in  Plaintiff’s 

circumstances to be chilled from reporting sex‐based harms.  

       126.   Doe has required ongoing counseling and elevated levels of medication to 

address her injuries caused by Defendants’ actions and inactions.  

       127.   Doe  has  also  been  damaged  by  missed  educational  opportunities  and 

future earning capabilities.  

       128.   SAIC  had  the  capacity  to  adopt  lawful  policies  and  procedures  prior  to 

2016, to ensure the fully equal treatment of sex‐based harms and to prevent all forms of 

sex discrimination, including sexual assault and exploitation by faculty.  

       129.   Despite  SAIC’s  knowledge  of  multiple  reports  of  Phillips’  misconduct 

prior  to  the  onset  of  Plaintiff’s  suffering,  SAIC,  by  and  through  its  board  members, 

administrators, employees and agents, failed to adopt lawful policies and procedures. 

       130.   SAIC  had  a  pattern  or  practice  of  subjecting  sex‐based  harm  to  separate, 

different and worse treatment than other civil rights harms by: 

              a. Ignoring  and  minimizing  reports  of  sexual  misconduct,  including 

                  sexual  harassment  and  sexual  abuse,  despite  an  ongoing  danger  to 

                  female students at SAIC; 

              b. Withholding and/or failing to properly document complaints received 

                  concerning sexual misconduct;  

 
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               c. Failing  to  communicate  any  precautions,  directives  or  educational 

                  materials  that  might  be  utilized  to  identify  whether  or  not 

                  inappropriate conduct occurred between any student/faculty member, 

                  whether generally or specifically in relation to Phillips; and 

               d. Failing  to  otherwise  institute  corrective  action  designed  to  reduce  the 

                  risk of harm and foreseeable acts of sex‐based harm. 

       131.    As a result of Defendants’ conduct, Plaintiff was harmed and continues to 

be harmed in that she has experienced economic and non‐economic damages, including 

great  mental  anguish,  humiliation,  degradation,  physical  and  emotional  pain  and 

suffering,  inconvenience,  loss  of  enjoyment  of  life,  future  pecuniary  losses,  harm  to 

reputation,  harm  to  career,  and  harm  to  her  education,  and  other  consequential 

damages. 

                                          COUNT VI 
                             TITLE IX, 20 U.S.C. §1681, et. seq.,  
                                          (retaliation) 
                                                  
       132.    Doe  restates  and  realleges  by  reference  the  paragraphs  above  as  though 

fully set forth herein. 

       133.    Title  IX  provides  that  ʺ[n]o  recipient  or  other  person  shall  intimidate, 

threaten,  coerce,  or  discriminate  against  any  individual  for  the  purpose  of  interfering 

with any right or privilege secured by [Title IX], or because he has made a complaint, 

testified,  assisted,  or  participated  in  any  manner  in  an  investigation,  proceeding  or 

hearing under this subpart.ʺ 
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       134.    After Phillips’ sexual abuse was reported to SAIC officials, Phillips began 

retaliating  against  Doe  by,  inter  alia,  contacting  her,  threatening  to  commit  suicide, 

threatening to sue her, sending her threatening and intimidating messages by text and 

through  social  media,  showing  up  at  her  dorm  room,  having  SAIC  officials  provide 

threatening items to Doe in a paper bag, and contacting her mother.  

       135.    SAIC,  through  its  officials,  including  but  not  limited  to  the  individual 

Defendants,  retaliated  against  Plaintiff,  and  or  failed  to  stop  the  retaliation,  for  her 

complaints against Phillips by locking her out of her studio, failing to provide needed 

disability resources to her, colluding with Phillips to prevent her from making further 

complaints, enabling Phillips to contact Plaintiff by delivering a bag of items to Doe on 

behalf of Phillips, and making the Title IX process needlessly complicated and difficult 

which they knew distressed Plaintiff.  

       136.    As a result of Defendants’ conduct, Plaintiff was harmed and continues to 

be harmed in that she has experienced economic and non‐economic damages, including 

great  mental  anguish,  humiliation,  degradation,  physical  and  emotional  pain  and 

suffering,  inconvenience,  loss  of  enjoyment  of  life,  future  pecuniary  losses,  harm  to 

reputation,  harm  to  career,  and  harm  to  her  education,  and  other  consequential 

damages. 




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                                       COUNT VII 
            INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS 
                                              
       137. Plaintiff  restates  and  realleges  by  reference  the  paragraphs  above  as 

though fully set forth herein. 

       138.   The acts of sexual abuse against the female students, including Doe, were 

extreme and outrageous.  

       139.   SAIC,  through  its  officials,  including  but  not  limited  to  the  individual 

Defendants,  either  intended  to  cause  or  recklessly  or  consciously  disregarded  the 

probability of causing emotional distress to Doe.  

       140.   Doe  suffered  severe  or  extreme  emotional  distress  as  a  result  of 

Defendants’ conduct.  

       141.   As a result of Defendants’ conduct, Plaintiff was harmed and continues to 

be harmed in that she has experienced economic and non‐economic damages, including 

great  mental  anguish,  humiliation,  degradation,  physical  and  emotional  pain  and 

suffering,  inconvenience,  loss  of  enjoyment  of  life,  future  pecuniary  losses,  harm  to 

reputation,  harm  to  career,  and  harm  to  her  education,  and  other  consequential 

damages. 

                                        COUNT VIII 
                          WILLFUL AND WANTON CONDUCT 
                                                
       142.   Plaintiff  restates  and  realleges  by  reference  the  paragraphs  above  as 

though fully set forth herein. 
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       143.    SAIC,  through  its  officials,  including  but  not  limited  to  the  individual 

Defendants,  knew  or  should  have  known  that  its  failure  to  properly  investigate  and 

protect students from Phillips would likely result in injury to Doe.  

       144.    SAIC,  through  its  officials,  including  but  not  limited  to  the  individual 

Defendants, consciously disregarded a substantial risk of harm it knew or should have 

known existed towards Doe or its other students.  

       145.    SAIC,  through  its  officials,  including  but  not  limited  to  the  individual 

Defendants,  engaged  in  willful  and  wanton  conduct  by  consciously  disregarding  a 

known  risk  of  harm  to  Doe  by  failing  to  investigate  and/or  supervise  Phillips,  and  by 

allowing  Phillips  unfettered  access  to  female  students  despite  the  previous  sexual 

misconduct by Phillips.  

       146.    As  a  direct  and  proximate  cause  of  SAIC’s  indifference  and/or  conscious 

disregard  for  the  safety  of  it  students  by  failing  to  control  or  supervise  Phillips,  Doe 

sustained personal, emotional and pecuniary injuries.  

       147.    As a result of Defendants’ conduct, Plaintiff was harmed and continues to 

be harmed in that she has experienced economic and non‐economic damages, including 

great  mental  anguish,  humiliation,  degradation,  physical  and  emotional  pain  and 

suffering,  inconvenience,  loss  of  enjoyment  of  life,  future  pecuniary  losses,  harm  to 

reputation,  harm  to  career,  and  harm  to  her  education,  and  other  consequential 

damages. 

 
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                                        COUNT IX 
                                  FAILURE TO SUPERVISE 
                
       148.    Plaintiff  restates  and  realleges  by  reference  the  paragraphs  above  as 

though fully set forth herein. 

       149.    SAIC, through its board members, administrators, faculty, employees and 

agents,  including  the  individual  Defendants,  was  aware  of  Phillips’  propensity  to 

commit  acts  of  sexual  harassment  and  abuse  or  misconduct  against  female  students, 

including  Doe,  making  Phillips’  future  misconduct  and  the  harm  likely  to  result  from 

such conduct reasonably foreseeable. 

       150.    SAIC,  through  its  officials,  including  but  not  limited  to  the  individual 

Defendants,  knew  Phillips  was  utilizing  his  position  on  the  faculty  and  his  access  to 

school and female students to engage in predatory behavior including sexual grooming, 

sexual harassment and sexual abuse against female students. 

       151.    At  all  relevant  times  herein,  Doe  was  under  the  direct  and  immediate 

control of Phillips as her instructor and advisor.  

       152.    SAIC,  through  its  officials,  including  but  not  limited  to  the  individual 

Defendants, had a duty to act in a reasonably prudent manner in the supervision of its 

faculty, advisors, and administrators, including Phillips, and to ensure that Phillips and 

other  employees  acted  in  the  best  interest  of  the  health,  safety  and  welfare  of  SAIC’s 

students.  

 


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       153.   SAIC, by and through its agents and/or employees, acted with a reckless 

and  conscious  disregard  for  the  safety  and  welfare  of  female  students,  including  Doe, 

and breached its duties owed to Doe by committing one or more of the following acts or 

omissions: 

              a. Allowing  an  environment  wherein  Phillips  could  utilize  school 

                  property,  during  and  after  school  hours,  without  supervision  of  his 

                  activities,  and  engage  in  the  sex‐based  misconduct  of  Doe  and  other 

                  students;  

              b. Failing  to  protect  Doe  despite  prior  knowledge  that  Phillips  had 

                  previously committed other acts of sex‐based misconduct against other 

                  female students;  

              c. Failing to document complaints involving Phillips;  

              d. Failing to warn and/or disclose to the SAIC community, including Doe, 

                  knowledge of Phillips’ past sex‐based misconduct;  

              e. Withholding information from the campus community, including Doe, 

                  concerning  prior  complaints  of  sexual  harassment  and  sexual  abuse 

                  perpetrated on female students by Phillips; and 

              f. Failing  to  warn  and/or  disclose  to  individual  female  students  of  the 

                  SAIC, including Doe, of the complaints received against Phillips.  

       154.   As a result of SAIC’s breach, Phillips, SAIC, and the individual defendants 

proximately caused injury to Doe.  
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       155.   As a result of Defendants’ conduct, Plaintiff was harmed and continues to 

be harmed in that she has experienced economic and non‐economic damages, including 

great  mental  anguish,  humiliation,  degradation,  physical  and  emotional  pain  and 

suffering,  inconvenience,  loss  of  enjoyment  of  life,  future  pecuniary  losses,  harm  to 

reputation,  harm  to  career,  and  harm  to  her  education,  and  other  consequential 

damages. 

                                          COUNT X 
              NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS 
                                                
       156.   Plaintiff  restates  and  realleges  by  reference  the  paragraphs  above  as 

though fully set forth herein. 

       157.   Before  Phillips  initiated  the  sexual  abuse  of  Doe,  Phillips  engaged  in  a 

pattern of inappropriate grooming, sexual harassment, and sexual abuse of at least one 

other female student which SAIC and the individual Defendants were aware of.   

       158.   None  of  the  agents,  servants,  and  employees  of  SAIC  undertook 

appropriate  measures  to  prohibit  and  prevent  Phillips  from  engaging  in  his 

inappropriate sex‐based misconduct with other students.  

       159.   SAIC,  through  its  officials,  including  but  not  limited  to  the  individual 

Defendants, knew, or should have known, Phillips was engaging in inappropriate sex‐

based misconduct with students at SAIC.  

       160.   SAIC’s,  through  its  officials,  including  but  not  limited  to  the  individual 

Defendants,  failure  to  properly  handle  reports  concerning  Phillips’  sexual  grooming, 


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sexual  misconduct,  and  sexual  abuse  of  students  ultimately  led  to  and  precipitated  in 

causing his sex‐based harm of Doe.  

       161.    SAIC,  through  its  officials,  including  but  not  limited  to  the  individual 

Defendants,  owes  a  duty  to  its  students,  including  female  students  such  as  Doe,  to 

provide  and  employ  appropriate  educational  services  and  competent  faculty  and 

counselors  and  safeguard  its  students  from  harmful  conduct  perpetrated  by  SAIC 

faculty.  

       162.    SAIC,  through  its  officials,  including  but  not  limited  to  the  individual 

Defendants,  owed  a  duty  to  its  female  students,  including  Doe,  to  provide  a  safe  and 

secure environment for students’ academic pursuits.  

       163.    The SAIC breached these duties by:   

               a. Allowing  an  environment  wherein  Phillips  could  utilize  school 

                  property,  during  and  after  school  hours,  without  supervision,  and 

                  engage in the sexual abuse of Doe;  

               b. Failing  to  protect  Doe  despite  its  prior  knowledge  that  Phillips  was 

                  involved  in  sexual  grooming,  sexual  harassment  and  sexual  abuse  of 

                  other female students;  

               c. Failing to document complaints received against Phillips in accordance 

                  with SAIC policies; and 

               d. Failing to warn and/or disclose to individual female students of SAIC, 

                  including Doe, of the complaints received against Phillips. 
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          164.   As  a  result  of  SAIC’s  aforementioned  breach,  Defendants  Phillips  and 

SAIC proximately caused injury to Doe. 

          165.   Plaintiff  suffered  emotional  distress  as  a  result  of  Defendants’  conduct 

which is severe, extreme, and long lasting. 

          166.   As a result of Defendants’ conduct, Plaintiff was harmed and continues to 

be harmed in that she has experienced economic and non‐economic damages, including 

great  mental  anguish,  humiliation,  degradation,  physical  and  emotional  pain  and 

suffering,  inconvenience,  loss  of  enjoyment  of  life,  future  pecuniary  losses,  harm  to 

reputation,  harm  to  career,  and  harm  to  her  education,  and  other  consequential 

damages. 

                                            COUNT XI 
                                          NEGLIGENCE 
                                                   
          167.   Plaintiff  restates  and  realleges  by  reference  the  paragraphs  above  as 

though fully set forth herein. 

          168.   SAIC,  through  its  officials,  including  but  not  limited  to  the  individual 

Defendants, owed Doe a duty to provide reasonably safe and appropriate educational 

services.  

          169.   SAIC,  through  its  officials,  including  but  not  limited  to  the  individual 

Defendants,  breached  its  duty  by  engaging  in  one  or  more  of  the  following  negligent 

acts:  

           


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              a. Failing to conduct a  thorough  investigation  into  previous misconduct 

                  involving  Phillips  relating  to  inappropriate  sex‐based  words  and 

                  actions;  

              b. Failing  to  warn  Doe  of  Phillips’s  dangerous  propensities  towards 

                  female students;  

              c. Failing  to  adequately  supervise  Phillips  despite  the  fact  that  SAIC 

                  officials  knew  or  should  have  known  that  Phillips  had  been  sexually 

                  inappropriate toward female students; and  

              d. Otherwise failing to protect Doe from Phillips despite knowledge that 

                  Phillips  had  previously  engaged  in  sex‐based  misconduct  with  other 

                  female students.  

       170.   As a direct and proximate cause and result of one or more of the aforesaid 

negligent acts, the Plaintiff, Doe, sustained personal, emotional, and pecuniary injuries. 

       171.   As a result of Defendants’ conduct, Plaintiff was harmed and continues to 

be harmed in that she has experienced economic and non‐economic damages, including 

great  mental  anguish,  humiliation,  degradation,  physical  and  emotional  pain  and 

suffering,  inconvenience,  loss  of  enjoyment  of  life,  future  pecuniary  losses,  harm  to 

reputation,  harm  to  career,  and  harm  to  her  education,  and  other  consequential 

damages. 

        
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                                         COUNT XII 
                                NEGLIGENT RETENTION 
                                                
       172.   Plaintiff  restates  and  realleges  by  reference  the  paragraphs  above  as 

though fully set forth herein. 

       173.   While  an  employee  of  Defendant  SAIC,  SAIC,  through  its  officials, 

including  but  not  limited  to  the  individual  Defendants,  was  aware  of  previous 

complaints  made  by  women  against  Defendant  Phillips  relating  to  his  appropriate 

sexual conduct involving female students.  

       174.   Defendant  SAIC  either  knew  or  should  have  known  of  the  sexually 

dangerous  propensities  of  Defendant  Phillips  after  learning  of  Phillips’  previous 

inappropriate relationship with a student and complaints by other female students.  

       175.   The  violent  and  sexually  dangerous  propensities  of  Defendant  Phillips 

made Phillips unfit for the job and created a foreseeable danger to others.  

       176.   The unfitness of Phillips was a proximate cause of Doe’s injuries.  

       177.   The conduct of SAIC, through its officials, including but not limited to the 

individual  Defendants,  in  intentionally  hiring  and  retaining  Defendant  Phillips  was 

willful and wanton as it was in reckless disregard of the safety of its students.  

       178.   As a result of Defendants’ conduct, Plaintiff was harmed and continues to 

be harmed in that she has experienced economic and non‐economic damages, including 

great  mental  anguish,  humiliation,  degradation,  physical  and  emotional  pain  and 


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suffering,  inconvenience,  loss  of  enjoyment  of  life,  future  pecuniary  losses,  harm  to 

reputation,  harm  to  career,  and  harm  to  her  education,  and  other  consequential 

damages. 

                                      COUNT XIII 
          NEGLIGENT FAILURE TO CONTROL CONDUCT OF PHILLIPS 
                             (Restatement of Torts, 2d §317) 
                                              
       179. Plaintiff  restates  and  realleges  by  reference  the  paragraphs  above  as 

though fully set forth herein. 

       180.   SAIC,  through  its  officials,  including  but  not  limited  to  the  individual 

Defendants,  was  in  charge  of  providing  an  education  to  students,  including  Plaintiff, 

through oversight and supervision of all school functions, school property, and school 

student programs. The SAIC is also in charge of the hiring, supervision, management, 

assignment,  control,  and  regulation  of  individuals  who  serve  as  faculty  members, 

advisors, and staff members.  

       181.   At all times herein, the students of the SAIC and their parents, including 

Plaintiff  and  her  parents,  reposed  great  trust  and  confidence  in  the  SAIC  by  and 

through its board members, administrators, faculty, advisors, employees and/or agents, 

so that it deemed influence, control, and superiority over the students of the SAIC and 

their parents, including Plaintiff.  

       182.   SAIC,  by  and  through  its  board  members,  administrators,  faculty, 

advisors, employees and/or agents, including the individual Defendants, had a duty to 

protect  Doe  from  reasonably  foreseeable  harm  on  Plaintiff  perpetrated  by  faculty 
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members in all matters relating to the conduct of the institution.  

       183.   SAIC,  by  and  through  its  board  members,  administrators,  faculty, 

advisors,  employees  and/or  agents  received  and  were  aware  of  multiple  reports, 

allegations,  and  complaints  concerning  misconduct  of  Defendant  Phillips  involving 

female students, including sexual harassment and sexual abuse, before Phillips sexually 

harassed and sexually abused Doe.  

       184.   That  Phillips  exercised  a  degree  of  power  over  Doe  given  Phillips’ 

position  of  authority  and  influence  over  Doe,  especially  given  her  disability  and 

Phillips’s power to affect Doe’s academic standing.  

       185.   The power disparity between Phillips and the Plaintiff disinclined Plaintiff 

from  protesting  or  attempting  to  avoid  Phillips  outside  the  presence  of  third  parties 

who might have protected Doe.  

       186.   SAIC,  through  its  officials,  including  but  not  limited  to  the  individual 

Defendants, through its acts or omissions, failed to take any steps to protect Doe and/or 

prevent reasonably foreseeable harm to Doe.  

       187.   The failure to warn and/or publicly disclose to individual female students, 

including  Plaintiff,  of  past  sexual  misconduct  against  Phillips  served  the  purpose  of 

preventing female students, including Plaintiff, from assessing the safety or lack thereof 

of working with Phillips and taking advantage of their otherwise normal opportunities 

for protection.  

 
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       188.   SAIC,  through  its  officials,  including  but  not  limited  to  the  individual 

Defendants,  acted  with  conscious  disregard  and  reckless  indifference  to  the  safety  of 

female students, including Doe. 

       189.   As  a  direct  and  proximate  cause  of  SAIC’s  indifference  and/or  conscious 

disregard  for  the  safety  of  it  students  by  failing  to  control  or  supervise  Defendant 

Phillips, Doe sustained personal, emotional, and pecuniary injuries.  

       190.   As a result of Defendants’ conduct, Plaintiff was harmed and continues to 

be harmed in that she has experienced economic and non‐economic damages, including 

great  mental  anguish,  humiliation,  degradation,  physical  and  emotional  pain  and 

suffering,  inconvenience,  loss  of  enjoyment  of  life,  future  pecuniary  losses,  harm  to 

reputation,  harm  to  career,  and  harm  to  her  education,  and  other  consequential 

damages. 

                                      COUNT XIV 
          Section 504 of the Rehabilitation Act of 1973, 29 U.S.C. § 794 et seq. 
                                              
       191. Plaintiff  restates  and  realleges  by  reference  the  paragraphs  above  as 

though fully set forth herein. 

       192.   Section 504 of the Rehabilitation Act of 1973 (“Section 504”) provides that 

an educational institution receiving federal financial assistance must not deny persons 

with disabilities the benefits of its programs and activities, an obligation that applies to 

“all of the operations of . . . a college, university, or other postsecondary institution . . . 

.” 29 U.S.C. § 794(b)(2)(A). 


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       193.    Because SAIC receives federal financial assistance and is a place of public 

accommodation, it is subject to Section 504. 

       194.    Section  504  of  the  Rehabilitation  Act  of  1973  provides  in  pertinent  part: 

“No otherwise qualified individual with a disability . . . shall, solely by reason of her or 

his  disability,  be  excluded  from  the  participation  in,  be  denied  the  benefits  of,  or  be 

subjected  to  discrimination  under  any  program  or  activity  receiving  Federal  financial 

assistance . . . .” 29 U.S.C. § 794(a).  

       195.    SAIC  is  a  recipient  of  federal  financial  assistance  sufficient  to  invoke  the 

coverage  of  Section  504,  and  has  received such  federal  financial  assistance  at  all  times 

relevant to the claims asserted in this Complaint. 

       196.    SAIC  failed  to  promptly  and  appropriately  respond  to  alleged  sexual 

abuse, resulting in Doe being excluded from participation in, being denied the benefits 

of,  or  being  subjected  to  discrimination  in  SAIC  education  programs  or  activities  in 

violation of Section 504 of the Rehabilitation Act of 1973. 

       197.    SAIC  intentionally  discriminated  against  Plaintiff  because  of  her 

disability. 

       198.    As a result of Defendants’ conduct, Plaintiff was harmed and continues to 

be harmed in that she has experienced economic and non‐economic damages, including 

great  mental  anguish,  humiliation,  degradation,  physical  and  emotional  pain  and 

suffering, inconvenience, loss of enjoyment of life, future pecuniary losses, harm to 



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reputation,  harm  to  career,  and  harm  to  her  education,  and  other  consequential 

damages. 

                                         COUNT XV 
                             ADA – Title III, 42 U.S.C. § 12182 
                                                
       199.   Plaintiff  restates  and  realleges  by  reference  the  paragraphs  above  as 

though fully set forth herein. 

       200.   Title III of the Americans with Disabilities Act (“Title III”) requires, among 

other  things,  that  a  public  accommodation:  (1)  not  deny  persons  with  disabilities  the 

benefits  of  its  services,  facilities,  privileges  and  advantages;  (2)  make  reasonable 

modifications  in  policies,  practices,  or  procedures,  when  such  modifications  are 

necessary  to  afford  such  goods,  services,  facilities,  privileges,  advantages,  or 

accommodations to individuals with disabilities, unless the entity can demonstrate that 

making  such  modifications  would  fundamentally  alter  the  nature  of  such  goods, 

services, facilities, privileges, advantages, or accommodation; (3) take such steps as may 

be necessary to ensure that no individual with a disability is excluded, denied services, 

segregated or otherwise treated differently than other individuals. 

       201.   Under  Title  III,  places  of  accommodation  include  an  “undergraduate,  or 

postgraduate private school, or other place of education.” 42 U.S.C. § 12181(7)(J). 

       202.   Because SAIC receives federal financial assistance and is a place of public 

accommodation, it is subject to Title III. 

 


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       203.    Title III requires that “[n]o individual shall be discriminated against on the 

basis  of  disability  in  the  full  and  equal  enjoyment  of  the  goods,  services,  facilities, 

privileges,  advantages,  or  accommodations  of  any  place  of  public  accommodation  by 

any  person  who  owns  .  .  .  or  operates  a  place  of  public  accommodation.”  42  U.S.C.  § 

12182(a); 28 C.F.R. § 36.201(a). 

       204.    SAIC  operates  an  “undergraduate,  or  postgraduate  private  school,  or 

other  place  of  education,”  which  is  a  place  of  public  accommodation  pursuant  to  42 

U.S.C. § 12181(7)(J). 

       205.    SAIC  has  engaged  in  illegal  disability  discrimination,  as  defined  by  Title 

III, including without limitation: 

               a. Failing to provide Plaintiff with alternative housing arrangements;  

               b. Locking Plaintiff out of her art studio; and 

               c. Failing to modify policies and procedures in order to accommodate her 

                   disability.  

       206.    As a result of Defendants’ conduct, Plaintiff was harmed and continues to 

be harmed in that she has experienced economic and non‐economic damages, including 

great  mental  anguish,  humiliation,  degradation,  physical  and  emotional  pain  and 

suffering,  inconvenience,  loss  of  enjoyment  of  life,  future  pecuniary  losses,  harm  to 

reputation,  harm  to  career,  and  harm  to  her  education,  and  other  consequential 

damages. 

 
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  WHEREFORE, Plaintiff respectfully requests: 

        A.     All  economic  damages  Plaintiff  lost  including,  but  not  limited  to 
               tuition and housing payments made to SAIC on Plaintiff’s behalf;   
         
        B.     All  academic  benefits  Plaintiff  would  have  received  but  for  the 
               discrimination; 
         
        C.     Compensatory damages in an amount to be determined at trial; 
         
        D.     Defendants be required to pay pre‐judgment interest to Plaintiff on 
               these damages; 
         
        E.     A permanent injunction enjoining the Defendants from engaging in 
               the discriminatory practices complained of herein; 
                
        F.     A  permanent  injunction  requiring  the  Defendants  adopt  practices 
               and  policies  in  accord  and  conformity  with  the  requirements  of 
               Title IX, the ADA, and Illinois law;  
         
        G.     A  declaratory  judgment  that  Defendants’  actions  violate  Title  IX, 
               the ADA, and Illinois law. 
         
        H.     The  Court  retain  jurisdiction  of  this  case  until  such  time  as  it  is 
               assured  that  Defendants  have  remedied  the  policies  and  practices 
               complained  of  herein  and  are  determined to  be  in  full  compliance 
               with the law; 
         
        I.     Punitive damages as allowed by law; 
         
        J.     An  award  of  reasonable  attorneys’  fees,  costs,  and  litigation 
               expenses; and 
         
        K.     Such other relief as the Court may deem just or equitable. 
         
         
         
         
         
         
         
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                                                      Respectfully Submitted, 

                                                   
                                                   
                                                                                     
                                                      Plaintiff’s Attorney 
                                        
                                                      Electronically filed on June 18, 2018 
                                        
Dana L. Kurtz, Esq. (ARDC #6256245) 
Heidi Karr Sleper, Esq. (ARDC #6287421) 
Jacob Exline, Esq. (ARDC #6326874) 
KURTZ LAW OFFICES, LTD. 
32 Blaine Street 
Hinsdale, IL 60521 
Phone: (630) 323‐9444 
Fax: (630) 604‐9444 
Email: dkurtz@kurtzlaw.us 
Email: hsleper@kurtzlaw.us 
Email: jexline@kurtzlaw.us  
 




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